                                                           (SPACE BELOW FOR FILING STAMP ONLY)
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 3              PHONE (559) 233-2900
                 FAX (559) 485-3852
 4
 5     ATTORNEYS FOR Defendant,
                EDDY A. GEORGE
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          EASTERN DISTRICT OF CALIFORNIA
10                                      * * * * * * * *
11   UNITED STATES OF AMERICA,                  Case No.: CR-F-03-5453 OWW
12              Plaintiff,
13        vs.                                   STIPULATION TO CONTINUE FILING
                                                  OF MOTION FOR NEW TRIAL AND
14   EDDY A. GEORGE,                                       SENTENCING
                                                              and
15              Defendant.                                O R D E R
16                                              NOTICE TO COUNSEL: ORDER HAS
                                                BEEN CHANGED, PLEASE SEE PAGE
17                                              3
18
          IT IS HEREBY STIPULATED by and between attorneys for the
19
     respective parties herein that the dates for the filing of
20
     Motions for New Trial and the Sentencing be continued as follows:
21
                                        Current Date                Continued Date
22
     Filing of Motion for              December 15, 2005       February 1, 2006
23     New Trial
24   Government Response               January 5, 2006         February 22, 2006
25   SENTENCING and MOTION             January 23, 2006        March 13, 2006
       FOR NEW TRIAL                                                1:30 p.m.
26
          Counsel for Defendant GEORGE requests this additional
27
     continuance due to the fact that extensive amount of time in
28
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 1   reviewing the record, research and preparation of the
 2   Motion for New Trial is required.        Counsel’s calendar has been
 3   such that he has not had the opportunity to completely and
 4   thoroughly review the trial transcript in order to prepare his
 5   Motion for a New Trial in this short period of time.
 6        Counsel for Defendant GEORGE has spoken with other counsel
 7   in this matter relative to the length of time which is needed to
 8   review and prepare the motions.       They have all agreed that an
 9   additional month within which to review the Trial Transcript and
10   prepare their motions for New Trial would be sufficient.
11        Counsel for Defendant GEORGE has spoken with Assistant U. S.
12   Attorney, KAREN ESCOBAR, as well as with all other defendant
13   attorneys, who are agreeable to this continuance.
14        DATED: December 8, 2005.
15                                     Respectfully submitted,
16                                     NUTTALL & COLEMAN
17
                                           /s/ Roger T. Nuttall
18                                     By: ___________________________
                                              ROGER T. NUTTALL
19                                          Attorneys for Defendant,
                                              EDDY A. GEORGE
20
          DATED: December 8, 2005.
21
                                            /s/ Karen Escobar
22                                     _______________________________
                                              KAREN ESCOBAR
23                                          Assistant U.S. Attorney
24        DATED: December 8, 2005.
25                                          /s/ Nicholas F. Reyes
                                       _______________________________
26                                            NICHOLAS F. REYES
                                          Attorney for Defendant,
27                                            RITO S. ZAZUETA
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 2
 3       DATED: December 8, 2005.
 4                                         /s/ Timothy B. Rote
                                      _______________________________
 5                                           TIMOTHY B. ROTE
                                         Attorney for Defendant,
 6                                           MICHAEL NOBARI
 7       DATED: December 8, 2005.
 8                                       /s/ Ed Hunt
                                      _______________________________
 9                                           ED HUNT
                                       Attorney for Defendant,
10                                           EDISON SHINO
11
                             *********************
12
                                    O R D E R
13
14       Good Cause Appearing,
15
         IT IS SO ORDERED.
16
         “NO FURTHER CONTINUANCES” OWW
17
18       DATED:    December__9____, 2005.
19
                                      /s/ OLIVER W. WANGER
20                                    _______________________________
                                             OLIVER W. WANGER
21                                    Judge, U. S. District Court
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